           Case 3:19-cv-00229-MO          Document 1-1 Filed 02/14/19           Page 1 of 4
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 5                        IN THE CIRCUIT COURT OF THE STATE OF OREGON

 6                                 FOR THE COUNTY OF MULTNOMAH

 7

 8

 9   AMAL SWAN,                                             Case No.

IO                 Plaintiff,
                                                            COMPLAINT FOR DAMAGES
11         v.
                                                            (Negligence-Personal Injury-Automobile)
12   BROAD AUTO TRANSPORTATION LLC, a                       Damages: $166,770.11
     Florida Limited Liability Corporation and              ORS Fee Statute: ORS 21.160(1)(c)
13
     SERGIO CASTRO,
                                                            (Claim Not Subject to Mandatory Arbitration)
14
                   Defendants.                              DEMAND FOR JURY TRIAL
15

16        Plaintiff alleges:
17                                                     1.
          At all material times,
18

19
                  a)      Defendant Broad Auto Transportation LLC, was an active Florida business
20                        corporation, conducting regular and sustained business within Multnomah
                          County, Oregon;
21

22                b)      Defendant Sergio Castro was an employee of defendant Broad Auto
                          Transportation LLC, and was the operator of a Peterbuilt semi-truck, Florida plate
23
                          number F7278LJ;
24
25                c)      Plaintiff was the properly restrained driver of a 2016 Dodge Journey, Oregon plate
                          number 882 JOY; and
26

                                                                                                 Hala J. Gores, P.C.
     Page 1 - COMPLAINT- NEGLIGENCE-PERSONAL INJURY-AUTOMOBILE                                            Attorney at Law
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                Case 3:19-cv-00229-MO        Document 1-1       Filed 02/14/19      Page 2 of 4




 1                   d)     NE 82nd A venue at its intersection with NE Sandy Boulevard was and is a public
                            roadway extending in a generally north/south direction in Multnomah County,
 2
                            Oregon.
 3

 4                                                         2.
            On January 12, 2017, at approximately 2:30 p.m., defendant Sergio Castro was acting within the
 5
 6   course and scope of his employment with Broad Auto Transportation LLC, when he was driving a semi-

 7   truck in a northerly direction in the left lane on NE 82nd A venue, near its intersection with NE Sandy

 8   Boulevard. The road conditions were icy, with snow accumulation. Defendant was driving too fast for
 9
     the conditions and lost control of his semi-truck, crashing into the rear driver's side of plaintiffs vehicle.
10

11                                                         3.

12          At that time and place, plaintiff was the properly restrained, driver of a 2016 Dodge Journey and
13
     was traveling in a northerly direction on NE 82nd A venue. Plaintiff was transporting an Uber customer
14
     from her home to the airport. Plaintiff was traveling in the right lane when, as she slowed down to stop
15
     at the intersection of NE Sandy Boulevard, defendant unexpectedly crashed his semi-truck into her
16

17   vehicle.

18
                                                    COUNT ONE
19                                                   (Negligence)
20                                                         4.

21
            Plaintiff realleges and incorporates by this reference paragraphs 1 through 3 above.
22
                                                           5.
23

24          Defendants were negligent in one or more of the following particulars:
25
                     a)     Traveling at a rate of speed greater than was reasonable considering the
26

                                                                                                    Hala J. Gores, P.C.
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             Case 3:19-cv-00229-MO           Document 1-1     Filed 02/14/19     Page 3 of 4




 1                          conditions;
 2
                    b)      Failing to maintain proper control over the semi-truck;
 3

 4                  c)      Failing to keep a proper lookout; and

 5
                    d)      Operating a vehicle in a careless manner.
 6
                                                   COUNT TWO
 7
                                                 (Negligence Per Se)
 8
                                          (Against Defendant Sergio Castro)
 9                                                       6.
10
            Plaintiff realleges and incorporates paragraphs 1 through 3 above.
11

12                                                       7.

13
            Defendant Sergio Castro violated the below cited Oregon statutes:
14
                    a)      Traveling at a rate of speed greater than was reasonable and prudent considering
15

16                          the conditions then and there existing, in violation of ORS 811.100;

17                  b)      Failing to keep a proper and careful lookout, in violation of ORS 811.135; and
18
                    c)      Operating a vehicle in a manner which endangered persons and property, in
19

20                          violation of ORS 811.135.

21                                                       8.
22
            As a result of defendants' negligence, plaintiff sustained injuries to her neck, shoulders, back and
23

24
     hips. Some of plaintiffs injuries may be permanent. Plaintiff also suffered headaches, concussion and

25   anx1ety relating to driving.

26
     Ill
                                                                                                   Bala J. Gores, P.C.
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             Case 3:19-cv-00229-MO          Document 1-1       Filed 02/14/19     Page 4 of 4




 1                                                        9.
 2
            As a result of defendants' negligence, plaintiff incmTed reasonable and necessary medical
 3
     expenses in the amount of $16,770.11. Plaintiffs medical treatment is ongoing and plaintiff will amend
 4

 5   her complaint prior to trial to conform with the actual medical expenses incurred at the time of trial.

 6
                                                         10.
 7
            As a further result of defendants' negligence, plaintiff suffered and continues to suffer pain,
 8

 9   discomfort, disability and loss of enjoyment of life, all to plaintiffs non-economic damages in a

10   reasonable amount to be determined at h·ial but not to exceed $150,000.

11
            WHEREFORE, plaintiff prays for judgment against the defendants as follows:
12

13          1.      Reasonable and necessary medical expenses in the amount of $16,770.11, to be amended

14                  before trial to confonn with the actual medical expenses incurred;

15
            2.      Non-economic damages in a reasonable amount to be determined at trial but not to
16
                    exceed $150,000; and
17

18          3.      Costs and disbursements incmTed during this action.

19
            DATED this 10 1h day of January, 2019.
20

21

22
23                                                  ala J. Gores, OS No. 890489
                                                   Attorney for Plaintiff
24

25

26

                                                                                                     Hala J. Gores, P.C.
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